                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                 No. CR09-0016-LRR
 vs.
                                                                  ORDER
 TRACY MOOREHEAD,
                Defendant.
                             ____________________________

         This matter comes before the court on the defendant’s motion to reduce sentence
(docket no. 98). The defendant filed such motion on August 7, 2012.
         In relevant part, 18 U.S.C. § 3582(c) provides:
               The court may not modify a term of imprisonment once it has
               been imposed except that . . . in the case of a defendant who
               has been sentenced to a term of imprisonment based on a
               sentencing range that has subsequently been lowered by the
               Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
               upon motion of the defendant or the Director of the Bureau of
               Prisons, or on its own motion, the court may reduce the term
               of imprisonment, after considering the factors set forth in [18
               U.S.C. §] 3553(a) to the extent that they are applicable, if such
               a reduction is consistent with applicable policy statements
               issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Given the record, the court concludes that it
need not appoint counsel or conduct a hearing with respect to whether relief is warranted
under 18 U.S.C. § 3582(c)(2). See United States v. Harris, 568 F.3d 666, 669 (8th Cir.
2009) (concluding that there is no right to assistance of counsel when pursuing relief under
18 U.S.C. § 3582(c) and finding that a judge need not hold a hearing on a motion pursuant


       Case 1:09-cr-00016-LRR-CJW        Document 99       Filed 08/08/12    Page 1 of 3
to 18 U.S.C. § 3582(c)); see also Fed. R. Crim. P. 43(b)(4) (stating that a defendant’s
presence is not required in a proceeding that involves the reduction of a sentence under 18
U.S.C. § 3582(c)).
       Amendment 750 (Parts A and C only) amends USSG §1B1.10. On June 30, 2011,
the Sentencing Commission unanimously voted to apply Amendment 750 (Parts A and C
only) retroactively to cocaine base (“crack”) offenses, and it set November 1, 2011 as the
date that Amendment 750 (Parts A and C only) could be applied retroactively. Part A
amended the Drug Quantity Table in USSG §2D1.1 for crack offenses and made related
revisions to Application Note 10 to USSG §2D1.1. Part C deleted the cross reference in
USSG §2D2.1(b) under which an offender who possessed more than 5 grams of crack was
sentenced under USSG §2D1.1.
       USSG §1B1.10, in relevant part, states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)
              below, the court may reduce the defendant’s term of
              imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
              required by 18 U.S.C. § 3582(c)(2), any such reduction in the
              defendant’s term of imprisonment shall be consistent with this
              policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 750 (Parts A and C only) within subsection (c). USSG §1B1.10(c).
       Nevertheless, the court is unable to rely on Amendment 750 (Parts A and C only)
to reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. See
generally United States v. Curry, 584 F.3d 1102, 1104 (8th Cir. 2009) (discussing United
States v. Wyatt, 115 F.3d 606, 608-09 (8th Cir. 1997)) (explaining requirements under


                                            2


    Case 1:09-cr-00016-LRR-CJW         Document 99      Filed 08/08/12    Page 2 of 3
USSG §1B1.10(b)). Because the defendant is subject to a statutorily required minimum
sentence, see 21 U.S.C. § 841(b)(1)(A), the defendant is not entitled to a reduction of his
sentence. Cf. United States v. Peters, 524 F.3d 905, 906-07 (8th Cir. 2008) (concluding
statutory mandatory minimum applied, and, consequently, defendant could not rely on
Amendment 706 to reduce his sentence under 18 U.S.C. § 3582(c)(2)); United States v.
Jones, 523 F.3d 881, 882 (8th Cir. 2008) (same); see also United States v. Byers, 561
F.3d 825, 829-32 (8th Cir. 2009) (making clear that statutory minimum must be taken into
consideration).1
       Because a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not
warranted, the defendant’s motion to reduce sentence (docket no. 98) is denied. The
clerk’s office is directed to provide a copy of this order to the United States, the defendant
and the Federal Public Defender.


       IT IS SO ORDERED.
       DATED this 8th day of August, 2012.




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        The court notes that the Supreme Court’s decision in Dorsey v. United States, 567
U.S. ___, ___, 132 S. Ct. 2321, 2326 (2012), which held “the new, more lenient
mandatory minimum provisions” of the Fair Sentencing Act “apply to offenders who
committed a crack cocaine crime before August 3, 2010 but were not sentenced until after
August 3”, does not permit the court to reduce the defendant’s sentence because judgment
entered against him on November 20, 2009.

                                              3


    Case 1:09-cr-00016-LRR-CJW          Document 99       Filed 08/08/12     Page 3 of 3
